     Case 2:13-cr-00124-APG-PAL            Document 107       Filed 08/11/17     Page 1 of 1




 1                                UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                    ***
 4     UNITED STATES OF AMERICA,                            Case No. 2:13-cr-00124-APG-PAL
 5                            Plaintiff,
 6           v.                                             ORDER
 7     REUBEN CONWAY,                                        (ECF No. 102)
 8                            Defendant.
 9

10           On June 8, 2017, defendant Reuben Conway filed a notice of assertion of right regarding

11    shackling. ECF No. 101. The notice relates to the issuance of the en banc decision in United

12    States v. Sanchez-Gomez, 859 F.3d 649 (9th Cir. 2017). On June 13, 2017, the Government

13    moved to strike Conway’s notice, arguing that it mischaracterizes the Ninth Circuit’s decision.

14    ECF No. 102. The defendant filed a response. ECF No. 105. These filings are not tethered to any

15    particular hearing, shackling request, or shackling determination. There is no live justiciable

16    dispute before the Court.

17           IT IS THEREFORE ORDERED that the motion to strike (ECF No. 102) is DENIED

18    without prejudice to the parties addressing the issues at an appropriate time if necessary.

19           DATED this 11th day of August, 2017.

20

21                                                          ANDREW P. GORDON
                                                            UNITED STATES DISTRICT JUDGE
22

23

24

25

26

27

28
